        Case 2:17-cv-04738-JCJ Document 18 Filed 12/04/17 Page 1 of 13



                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DARRICK HALL,                             :
                                          :
             Plaintiff,                   :   Honorable J. Curtis Joyner
                                          :
      v.                                  :   No. 17-CV-4738
                                          :
JOHN WETZEL, et al.,                      :
                                          :
             Defendants                   :   Filed Via Electronic Case Filing

                  DEFENDANTS’ BRIEF IN OPPOSITION TO
           PLAINTIFF’S REQUEST FOR A PRELIMINARY INJUNCTION

                                Procedural History

      Plaintiff is Darrick Hall, an individual presently incarcerated by the

Commonwealth of Pennsylvania, Department of Corrections (“the Department”)

at the State Correctional Institution at Graterford (“SCI-Graterford”) for Murder

in the First Degree. Plaintiff filed a Complaint pursuant to 42 U.S.C. § 1983 in the

Eastern District of Pennsylvania on October 23, 2017. See Doc. 1. Plaintiff’s counsel

personally served the Complaint upon the named Defendants on November 2,

2017. See Docs. 2-4.

      On November 20, 2017 Plaintiff filed a Motion for Preliminary Injunction

seeking his removal from the Capital Case Unit and transfer to a general population

housing unit. See Doc. 9.

                            Statement of Alleged Facts

      Plaintiff contends that a preliminary injunction is proper because he is likely

to succeed on the merits of his Eighth and Fourteenth Amendment claims
                                          1
           Case 2:17-cv-04738-JCJ Document 18 Filed 12/04/17 Page 2 of 13



regarding his continued confinement in the Capital Case Unit. See Doc. 9. Plaintiff

also avers that he has suffered and will continue to suffer irreparable harm to his

mental and physical health if his confinement status is not changed. Id.

                            Statement of Questions Presented1

1.       Should the injunction request be denied because Plaintiff has not
         established a likelihood of success on his constitutional claims, and because
         Courts of this Circuit have already denied similar injunctions?

2.       Should the injunction request be denied because granting the relief Plaintiff
         seeks will result in even greater harm to the nonmoving party?

                                    Standard of Review

         A request for a preliminary injunction is governed by Rule 65 of the Federal

Rules of Civil Procedure, and is judged against exacting legal standards. As the

United States Court of Appeals for the Third Circuit has explained: “Four factors

govern a district court’s decision whether to issue a preliminary injunction: (1)

whether the movant has shown a reasonable probability of success on the merits;

(2) whether the movant will be irreparably injured by denial of the relief, (3)

whether granting preliminary relief will result in even greater harm to the

nonmoving party; and (4) whether granting the preliminary relief will be in the

public interest.” Gerardi v. Pelullo, 16 F.3d 1363, 1373 (3d Cir. 1994) (quoting SI

Handling Systems, Inc. v. Heisley, 753 F.2d 1244, 1254 (3d Cir. 1985)). See also,

Highmark, Inc. v. UPMC Health Plan, Inc., 276 F.3d 160, 170-71 (3d Cir. 2001);




1   All questions presented are respectfully requested to be answered in the affirmative.
                                               2
         Case 2:17-cv-04738-JCJ Document 18 Filed 12/04/17 Page 3 of 13



Emile v. SCI-Pittsburgh, No. 04-974, 2006 WL 2773261, *6 (W.D.Pa. Sept. 24,

2006) (denying inmate preliminary injunction).

        A preliminary injunction is not granted as a matter of right. Kerschner v.

Mazurkewicz, 670 F.2d 440, 443 (3d Cir. 1982) (affirming denial of prisoner

motion for preliminary injunction seeking greater access to legal materials). It is

an extraordinary remedy. Given the extraordinary nature of this form of relief, a

motion for preliminary injunction places precise burdens on the moving party. As

a threshold matter, “it is a movant's burden to show that the ‘preliminary

injunction must be the only way of protecting the plaintiff from harm.’” Emile,

2006 WL 2773261, at * 6 (quoting Campbell Soup Co. v. ConAgra, Inc., 977 F .2d

86, 91 (3d Cir.1992)). Thus, when considering such requests, courts are cautioned

that:

        “[A] preliminary injunction is an extraordinary and drastic remedy,
        one that should not be granted unless the movant, by a clear showing,
        carries the burden of persuasion.” Mazurek v. Armstrong, 520 U.S.
        968, 972 (1997) (emphasis deleted). Furthermore, the court must
        recognize that an “[i]njunction is an equitable remedy which should
        not be lightly indulged in, but used sparingly and only in a clear and
        plain case.” Plain Dealer Publishing Co. v. Cleveland Typographical
        Union # 53, 520 F.2d 1220, 1230 (6th Cir.1975), cert. denied, 428 U.S.
        909 (1977). As a corollary to the principle that preliminary injunctions
        should issue only in a clear and plain case, the Court of Appeals for
        the Third Circuit has observed that “upon an application for a
        preliminary injunction to doubt is to deny.” Madison Square Garden
        Corp. v. Braddock, 90 F.2d 924, 927 (3d Cir.1937).

        Emile, 2006 WL 2773261, at *6.

        Accordingly, for an inmate to sustain this burden of proof that he is entitled

to a preliminary injunction under Fed.R.Civ.P. 65, he must demonstrate both a
                                           3
        Case 2:17-cv-04738-JCJ Document 18 Filed 12/04/17 Page 4 of 13



reasonable likelihood of success on the merits, and that he will be irreparably

harmed if the requested relief is not granted. Abu-Jamal v. Price, 154 F.3d 128, 133

(3d Cir. 1998); Kershner, 670 F.2d at 443. If the movant fails to carry this burden

on either of these elements, the motion should be denied because a party seeking

such relief must "demonstrate both a likelihood of success on the merits and the

probability of irreparable harm if relief is not granted." Hohe v. Casey, 868 F.2d

69, 72 (3d Cir. 1989)(emphasis in original), (quoting Morton v. Beyer, 822 F.2d

364 (3d Cir. 1987)).

      These limitations on the power of courts to enter injunctions in a

correctional context are further underscored by statute. Specifically, 18 U.S.C. §

3626 limits the authority of courts to enjoin the exercise of discretion by prison

officials, and provides that:

      Prospective relief in any civil action with respect to prison conditions
      shall extend no further than necessary to correct the violation of the
      Federal right of a particular plaintiff or plaintiffs. The court shall not
      grant or approve any prospective relief unless the court finds that such
      relief is narrowly drawn, extends no further than necessary to correct
      the violation of the Federal right, and is the least intrusive means
      necessary to correct the violation of the Federal right. The court shall
      give substantial weight to any adverse impact on public safety or the
      operation of a criminal justice system caused by the relief.

      18 U.S.C. § 3626(a)(1)(A).

      Where the requested preliminary injunction “is directed not merely at

preserving the status quo but...at providing mandatory relief, the burden on the

moving party is particularly heavy.” Punnett v. Carter, 621 F.2d 578, 582 (3d Cir.

1980). Mandatory injunctions should be used sparingly. United States v. Price, 688
                                          4
        Case 2:17-cv-04738-JCJ Document 18 Filed 12/04/17 Page 5 of 13



F.2d 204, 212 (3d Cir. 1982). Thus, a request for some form of mandatory proactive

injunctive relief in the prison context “must always be viewed with great caution

because judicial restraint is especially called for in dealing with the complex and

intractable problems of prison administration.” Goff v. Harper, 60 F.3d 518 (3d

Cir. 1995). Furthermore, it is well-settled that “[t]he purpose of a preliminary

injunction is to preserve the status quo, not to decide the issues on their merits.”

Anderson v. Davila, 125 F.3d 148, 156 (3d Cir. 1997).

      Therefore, in a case such as this, where the inmate-“plaintiff's request for

immediate relief in his motion for preliminary injunction necessarily seeks

resolution of one of the ultimate issues presented in [the] . . . Complaint, . . . [the]

plaintiff cannot demonstrate that [s]he will suffer irreparable harm if [s]he is not

granted a preliminary injunction, because the ultimate issue presented will be

decided either by this court, upon consideration of defendants' motion[s] . . ., or at

trial. As a result, plaintiff's motion for preliminary injunction should be denied.”

Messner v. Bunner, et al., 2009 WL 1406986, at *5 (W.D.Pa. May 19, 2009).

                                      Argument

1.    The injunction request should be denied, because Plaintiff has not
      established a likelihood of success on his constitutional claims, and because
      Courts of this Circuit have already denied similar injunctions.

      Plaintiff’s injunction request should be denied, because he has failed to

establish a reasonable probability of success on the merits. “To establish a

reasonable probability of success on the merits, the moving party must produce

sufficient evidence to satisfy the essential elements of the underlying cause of
                                           5
        Case 2:17-cv-04738-JCJ Document 18 Filed 12/04/17 Page 6 of 13



action. See Punnett v. Carter, 621 F.2d 578, 582–83 (3d Cir.1980). Whether

success is likely requires examination of the legal principles controlling the claim

and potential defenses available to the opposing party. See BP Chems., 229 F.3d at

264.” McCahon v. Pennsylvania Tpk. Comm'n, 491 F. Supp. 2d 522, 526 (M.D. Pa.

2007). Thus, to satisfy this element , “[i]t is not necessary that the moving party's

right to a final decision after trial be wholly without doubt; rather, the burden is on

the party seeking relief to make a prima facie case showing a reasonable probability

that it will prevail on the merits.” Oburn v. Shapp, 521 F.2d 142, 148 (3d Cir. 1975)

holding modified by Am. Tel. & Tel. Co. v. Winback & Conserve Program, Inc., 42

F.3d 1421 (3d Cir. 1994). However, “[a]lthough the plaintiff need not prove their

case with ‘airtight certainty,’ the moving party nevertheless ‘bears a heavy burden

on a motion for a preliminary injunction.’ Punnett v. Carter, 621 F.2d 578, 588 (3d

Cir. 1980).” Synthes, Inc. v. Gregoris, 228 F. Supp. 3d 421, 429 (E.D. Pa. 2017).

      Plaintiff contends that his continued confinement in the Capital Case Unit is

contrary to Williams v. Secretary, PA Department of Corrections, et al., 848 F.3d

549 (3d Cir. 2017) and that the conditions he experiences there are generally

violative of the Eighth Amendment. Plaintiff is not likely to succeed on the merits

of this claim based upon the Williams decision, because Plaintiff’s situation is

objectively distinguishable from the inmates involved in that case. Generally, the

court in Williams held that prisoners who had previously received relief as to either

their capital convictions or sentences, and no longer had active execution

sentences, could not be confined in the Capital Case Unit. Id. Although in the
                                          6
        Case 2:17-cv-04738-JCJ Document 18 Filed 12/04/17 Page 7 of 13



present case, Plaintiff has received habeas relief in the form of a vacated execution

sentence, significantly, Plaintiff’s habeas relief is stayed by the simultaneously filed

cross-appeals taken by the Commonwealth and himself in the Third Circuit,

docketed at 14-9006/9007.2 Plaintiff’s execution sentence is therefore active,

because the habeas relief issued by the District Court is stayed by the cross-appeals.

Significantly, one of Plaintiff’s appeals was placed into civil suspension because of

the current moratorium on executions, partly based upon Plaintiff’s acquiescence

to civil suspension status. Therefore, Plaintiff’s success on the merits of this claim

would require this Court to carve out an exception unique to him and in contrast

to the Third Circuit’s decision in Williams.

      Plaintiff is also unlikely to succeed on the merits of his claims regarding the

conditions of his confinement. The Third Circuit has already determined that the

conditions of confinement of prisoners housed in the Capital Case Unit at SCI-

Graterford meet the strict standards of the Eighth Amendment. See Peterkin v.

Jeffes, et al., 855 F.2d 1021 (3d Cir. 1988). In Peterkin, the Court of Appeals was

specifically tasked with determining whether the District Court properly

determined that the conditions of the Capital Case Unit at SCI-Graterford did not

violate the Eighth Amendment; the Court of Appeals agreed with the District

Court. Id. In so finding, the Third Circuit examined several factors closely related


2 Pursuant to Eastern District of Pennsylvania Local Rule 9.4(12), the District Court
granted a certificate of appealability regarding the order vacating Plaintiff’s death
sentence, therefore, the Local Rule requires that a stay must be granted pending
disposition of the appeal. See L.R. 9.4(12)
                                            7
        Case 2:17-cv-04738-JCJ Document 18 Filed 12/04/17 Page 8 of 13



to the experiences of the prisoners housed in the Capital Case Unit, which are

factors similarly averred by Plaintiff as evidence of constitutionally substandard

conditions. These factors included: cell conditions, cell time and prisoner

activities, and physical exercise and recreation. In each instance, the Third Circuit

found the conditions of the Capital Case Unit at SCI-Graterford to be

constitutionally adequate. Plaintiff’s success on the merits of this claim would

require this Court to effectively overrule standing precedent established by the

Third Circuit.

      Perhaps most significantly, Plaintiff is unlikely to succeed on the merits of

his claims because another inmate in Plaintiff’s particular situation seeking similar

relief has been recently denied. Earlier this fall, in the Western District of

Pennsylvania, inmate Ernest Porter, confined in the Capital Case Unit at SCI-

Greene, sought an injunction to be removed from that unit, because he had

received habeas relief. Porter v. PA Dept. of Corr., et al., 2017 WL 4099784.

Porter’s execution sentence was vacated by a District Court, just as Plaintiff’s was.

Porter sought injunctive relief based upon Williams, just as Plaintiff has. Porter’s

injunction request was denied, because he failed to show a likelihood of success on

the merits, just as Plaintiff has. Specifically, the Western District Court noted that

Porter’s habeas relief was stayed by cross-appeals filed by the Commonwealth and

Porter to the Third Circuit, noting:

      “Consequently, the Order vacating Plaintiff's death sentence was
      stayed pending the outcome of those appeals. The record shows that
      those appeals are still pending and thus the Order vacating Plaintiff's
                                          8
        Case 2:17-cv-04738-JCJ Document 18 Filed 12/04/17 Page 9 of 13



      death sentence remains stayed. Plaintiff's death sentence therefore is
      still operative and his continued confinement in the CCU does not
      violate Williams. Under these circumstances, Plaintiff is unable to
      show that he is likely to succeed on the merits of his claim and
      injunctive relief is not warranted.”

      Porter, at *2.

      Accordingly, Plaintiff has failed to establish a likelihood of success on the

merits on all fronts – Williams does not provide Plaintiff the relief he asserts it

does. The Third Circuit has already upheld the conditions of confinement in

Plaintiff’s housing unit to be constitutional. And, moreover, an inmate in an

identical situation to Plaintiff was recently denied similar injunctive relief, further

diminishing the perceived likelihood of Plaintiff’s success. The injunction should

be denied.

2.    The injunction request should be denied because granting the relief Plaintiff
      seeks will result in even greater harm to the nonmoving party.

      Plaintiff’s requested relief – to be removed from the Capital Case Unit and

rehoused in general population – would result in greater harm to the Defendants

and the Department. Plaintiff seeks this Court to enter an order that dramatically

and severely usurps the authority of prison administration from the Department

and would vest it instead in the Courts. “Prison administrators should be accorded

wide-ranging deference in the adoption and execution of policies and practices that

in their judgment are needed to preserve internal order and discipline and to

maintain institutional security.” Gomes v. Fair, 738 F.2d 517, 524 (1st Cir. 1984).

“So long as reasonable and effective means of communication remain open and no

                                          9
       Case 2:17-cv-04738-JCJ Document 18 Filed 12/04/17 Page 10 of 13



discrimination in terms of content is involved, we believe that, prison officials must

be accorded latitude.” Pell v. Procunier, 471 U.S. 817, 826 (1973). “The role of the

courts…is to enforce constitutional standards and to protect the constitutional

rights of prisoners. But this role does not include ‘second-guessing prison

administration.’   or   becoming     ‘enmeshed     in   the   minutiae    of   prison

administrators.’” Tillery v. Owens, 719 F. Supp. 1256, 1261 (W.D. Pa. 1989)

(internal citations omitted).

      The appropriate housing of inmates is a discretionary task at the core of

internal prison management, and one most appropriately conducted by prison

administrators. It is those administrators who possess the expertise, experience,

and ready access to volumes of data relative to the proper housing of inmates that

are most suitably charged with the decisions at issue in this request. Stripping that

decision-making authority from prison administrators, and vesting it with the

Court as Plaintiff seeks to do, would create judges as de-facto prison

administrators, and produce an unworkable logistical situation of prison

administration.

      If Plaintiff prevails, and this Court directs that he be removed from the

Capital Case Unit, does this Court also decide what unit is ultimately most

appropriate for him? If the prison chooses to house Plaintiff in a different unit to

which he objects, can the Court overrule the decision of prison administrators?

Does Plaintiff prospectively address any future housing issues with the

Superintendent of his facility or with the Court, should the Court do as Plaintiff
                                         10
       Case 2:17-cv-04738-JCJ Document 18 Filed 12/04/17 Page 11 of 13



intends and assume the decision-maker role regarding inmate housing? These

difficult questions – and others that cannot yet be conceived – are the inevitable

and logical outcomes of this Court turning away from decades of precedential law

regarding the separate roles of prison administrators and the courts. It is in this

way that the non-movants, the Defendants and the Department as a whole, would

suffer great harm should this Court grant Plaintiff’s request.




                                         11
        Case 2:17-cv-04738-JCJ Document 18 Filed 12/04/17 Page 12 of 13




                                       Conclusion

      For all of the above reasons, it is respectfully requested that the Court deny

Plaintiff’s request for injunctive relief.

                                         Respectfully submitted,

                                         Office of General Counsel


                                         /s/ Joseph Fulginiti
                                         Joseph Fulginiti, Assistant Counsel
                                         Attorney ID No.: 208039
                                         Pennsylvania Department of Corrections
                                         1920 Technology Parkway
                                         Mechanicsburg, PA 17050
                                         Phone No.: (717) 728-7763
                                         Fax No.: (717) 728-0307
                                         E-mail: josfulgini@pa.gov

                                         /s/ Maria Macus
                                         Maria Macus, Assistant Counsel
                                         Attorney ID No.: 90947
                                         Pennsylvania Department of Corrections
                                         1920 Technology Parkway
                                         Mechanicsburg, PA 17050
                                         Phone No.: (717) 728-7763
                                         Fax No.: (717) 728-0307
                                         E-mail: mmacus@pa.gov

                                         /s/ Chase Defelice
                                         Chase Defelice, Assistant Counsel
                                         Attorney ID No.: 209135
                                         Pennsylvania Department of Corrections
                                         1920 Technology Parkway
                                         Mechanicsburg, PA 17050
                                         Phone No.: (717) 728-7763
                                         Fax No.: (717) 728-0307
                                         E-mail: chdefelice@pa.gov
Date: December 4, 2017
                                             12
       Case 2:17-cv-04738-JCJ Document 18 Filed 12/04/17 Page 13 of 13



                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DARRICK HALL,                            :
                                         :
            Plaintiff,                   :   Honorable J. Curtis Joyner
                                         :
      v.                                 :   No. 17-CV-4738
                                         :
JOHN WETZEL, et al.,                     :
                                         :
            Defendants                   :   Filed Via Electronic Case Filing

                          CERTIFICATE OF SERVICE

      I hereby certify that the foregoing brief was made available to opposing

counsel as indicated below via the PACER system, as it was electronically filed:

Bret Grote, Esq.
Jamelia N. Morgan, Esq.
Abolitionist Law Center

Ashley Henderson, Esq.
Deneekie Grant, Esq.
Amistad Law Project



                                      /s/ Joseph Fulginiti
                                      Joseph Fulginiti, Assistant Counsel
                                      Attorney ID No.: 208039
                                      Pennsylvania Department of Corrections
                                      1920 Technology Parkway
                                      Mechanicsburg, PA 17050
                                      Phone No.: (717) 728-7763
                                      Fax No.: (717) 728-0307
                                      E-mail: josfulgini@pa.gov

Date: December 4, 2017



                                        13
